                                   Case 1:21-cv-02029-RDB Document 1-1 Filed 08/11/21 Page 1 of 2
JS    44   (Rev. 08/16)
                                                                                          CIVIL COVER SHEET
pLrrposeof initiatrrrgthecivrl docketsheet. (s1,.:liINS'llt(t("1'k)NSoNNL:X'l                           l'/(ilioltlHl:;l4)ltlvl.)
l. (a) PLAINTIFFS                                                                                                                         DEFENDANTS
Arthlr M. Love                                                                                                                          Larry Hogan, Boyd Rutherford, Steven McAdams, Allison Mayer,
                                                                                                                                        Mona Vaidya, Shareese Churchill, Maihew A. Clark, and The State of
                                                                                                                                        Maryland.
      (b)     County of Residence of First Listed Plaintiff Anne Aru nQeLlQsuqly                                                          County ol Rcsidence ol'First Listed Dol'cndant
                                (iX(' l::P'l l N ( 1.5. 1'l.A1 N I I l;lt ('ASI:)S)                                                                              (l N { J.,\. I' l.t1 I Nl l l. r' ('ASliS            ( ) N LY)

                                                                                                                                          NO.I.E: IN I,AND CONDEMNATION                         CASES, USE TIIE LOCATION OF
                                                                                                                                                         ]'HL]'IRAC'f OF LAND INVOLVED,

      (C) Attonreys (liirn Nailt, Atllrtt.t. onl li lcltlt,tt, Nunil,tt)                                                                   Attorneys (ll Knorn)
Law Offices of Jeffrey E. McFadden, LLC
312 Prospect Bay Drive East
Grasonville, MD 21638

II.     BASIS OF JURISDICTION p'ra',,n "x" inone Boxonty)                                                             III.    CITIZENSHIP OF PRINCIPAL PARTIES                                                         O'race qn "x" in one Rox./br Ptaintill'
                                                                                                                                     (lit l)iwr.vity     ('q.vc.v Onl),)                                                  und One Rox lor l)c/i:ndunt)
t]] I      LJ.S. Govcrnrnent              il ii      Federal Question                                                                                                  PTF         DEF                               PTF                             DEI..
              Plaitrtiff                               (Il.S.    (hvrnilknt      Not u   l'urt.t,                            Citizen ol"l his State                    OI           D I lnco{)oratedorl'rincipalPlacc n 4                                   O4
                                                                                                                                                                                                 of Business In This State

D2 U.S.Govemment                          O4         Diversity                                                               Citizen ofAnother          State          al   2       11 2 Inco{)oratcd.r,,/PrincipalPlace O 5                                D   5
     Defendant                                         (lndicale (.ilizen.\hip     oJ   l'qrlies iil llent   lll)                                                                                ol llusiness ln Another Statc

                                                                                                                             Citizcr or Subjeot         ofa            O    3       t::l :i   l.'orcign    Nation                                 O 6       O   6



           NATURE OF SUIT               Alo,    ?   qn "X" in ()ne ttox                                                                                                         Click here for: Nature o{ Suit firde
                                                                                                                                   FORFEITI IRE,/PENAL'TY
D I 10 lnsurance                              PERSONAL INJURY                            PERSONAI, INJURY                          625 Drug Related Seizure                 O    422 Appeal 28 USC 158                    l-I     :175 FalseClaims Act
r:I 120Marirtc                          O 3 l0 Aiqrlane                           O     365 Pcrsonal Irtjury -                         of I']roperty 2 I IJSC 88 I          O    423 Withdrawai                           O       li76 Qui Tarn (3 J tJSC
o 130 Miller Act                        il    315 Airplanc Product                           I)roduct t,iability                   690 Other                                         28 (JSC 157                                       3729(a))
o J40 Negotiable Instrument                         Liability                     D     li67 Health Care/                                                                                                                 O       400 State Reapportionment
D I 50 Recovery olC)verpayment          ll    320 Assault. Libol &                            Phannaccutioal                                                                                                              D       410 Antitlust
       & Enforcelnent of Judglne                  Slander                                     Personal lnjury                                                               t1    820 Copyrights                          D       430 Banks and Banking
D 151 Medicare Act                      D     330 Federal lrnployers'                         lloduct t.iability                                                            O     830 Patcnt                              O       450 Conmercc
u I 52 Recovery of Defaulted                        Liability                     tl    368 Asbestos Pcrsonal                                                               D     840 Tradcmatk                           D       460 Dcportation
           Student Loans                D     340 Matine                                    lrrjury Product                                                                                                               D       470 Racketeer lrrflucnccd and
           (Excludes Veterars)          D     345 Marine Product                           t,iability                                                                            SOCtAI, SECI]RITY                                    Corrupt Organizations
D    153 Recovery ofOverpayrnent                    I-iability                         PERSONAL PROPtrR'I'Y                  0     710 FaiL Labor Standards                 o    86r HrA (l:r95fI)                        rl      480 Consurner Credit
          of Veteran's Benefits         D     ii50 Motor Vehicle                  O     370 Other lr1aud                               Act                                  D    8(r2 Black Lurg (921i)                   rl490 Cable/Sat TV
l-ll I 60 Stookholdcrs' Suits           D     355 Motor Vehicle                   O     371 Iluth in Lending                 D     720 Labo/Managemcnt                      O     863 I)lWC/Dlww (405(9))                 o 850 Secutities/Cornrnodities/
D 190 Other CoDtract                              Product Liability               O     380 Other Pcrsonal                              Relations                           o     864 SSID t irle XVI                           Exchangc
D 195 Contract l'}roduct Liability      O     360 Other Personal                            Propofy Danragc                  D 740     Railway Labor Acl                    t'll 86s Rsl (40s(g))                         D 890 Othcr Statutory Actions
D 196 lianchise                                     Iniury                        O     385 Propcrty Darnagc                 O 75I     Family au<l Medical                                                                o 891 Agricultural Acts
                                        O     362 Personal Injury -                         Product Liability                           Lcave Act                                                                         D 893 Envirunnental Matters
                                                  Medical Malpractice                                                        O     790 Othcr Labot l,itigation                                                            D 895 Freedonr of Infornration
           REAL PROPI],RTY                                                                                                   D     79J lJnrployee Retiremcnt                      FEDERAL'TAX SUITS                                    Act
[]    210 Land Condernnation            O     440 Other Civil Rights                    I{abeas Corpus:                                Income Securily Act                       870 l'axes (U.S. Plaintiff               O       896 Arbihation
0     220 Foreclosure                   O     441 Voting                          D     463 Alien Detainee                                                                            or Defendant)                       O       899 Adminishative Proceclure
D     230 Rent Lease & Ejectment        X     442 Ernploynrent                    n     5l0lvlolionstoVaaate                                                                     871 IRS Third l'alty                                 Act/Revierv or Appcal of
lll   240 Torts to Land                 O 44li Housing/                                     Sentence                                                                                  26 t-rs(' 7609                                  Agency Decision
O     245 'for1 l'roduct Liabiliry                Accornrnodations                0     530 General                                                                                                                       O       950 Constitutionality of
O     290 All Other Real Property       lll   445 Arner. w/Disabilities - C1            535 Dcath l']cnalty                             IMilIIGRATION                                                                                 Statc Statutes
                                                  Eurployrnent                          Other:                               O     462 Naturalization Applicatiof
                                        0     446 Amer. rv/l)isabilities - D            540   Mandarnus & Other              D     465 Other lnmigration
                                                  Other                    D            550   Civil Rights                             Actions
                                        fl    448 Education                O            555   Prison Condition
                                                                                  O     560   Civil Dctainee -
                                                                                              Conditions     ol
                                                                                              Corfir)erlenl
V. ORIGIN ()loce un "X" in one Box Only)
Xt Originat D2 Rernovedfiorn                                           D 3       Rernanded tionr                    tl 4 Ileinstated           or       lJ   5 'l'ransferred fiorn            D6          Multidistrict
    Proceeding State Court                                                       Appellate Court                             Reopened                           Another District                          Litigation -
                                                                                                                                                                                                          Transf'er
                                               lite the U.S. Civil Statute under which you                          are   filing   (Do not citejurisdictionul stdutes ilttlcss tlivetsit)).
                                                42 U.S.C. Q 1983 et seq.
VI.        CAUSE OF ACTION                     Brief descriotion of cause:
                                                Termination of emplc                                 in violation of First and Fourteenth Amendments
VII.        REQUESTED IN                       il     Cup,CT IF TIIIS IS A CI,ASS                     ACl.IoN                      DIiNIAND         S                                    CIIECI( YES only if derranded in cornplaint:
            COMPLAINT:                                TJNDER RULE 23, F.ll.Cv.l'.                                                                                                        JtrRY      DEMAND: X Yes                                 t''l No
vrrr.       RELATED CASE(S)
                                                    (Sce   ifi.\Itu. tiofi.\):
            IF ANY                                                                JUDGE                                                                                           DOCKE-I NI.JMI]ER
                                                                                                                  A'l-l OI{NhY OI: IiEC OIiD
                               Z

      RECEIPT #                      AMOUNT                                                                                                                                                               MAG, JUDGE
                               Case 1:21-cv-02029-RDB Document 1-1 Filed 08/11/21 Page 2 of 2
JS   44 lleverse (Rcv.08/16)


                        INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                     Authority For Civil Cover Sheet


required by law, except as provided by local rules of cour1. This form, approved by the Judicial Conf'erence ol'the United States in Septerrber l9'74,is
requiredfbrtheuseoftheClerkofCourtforthepurposeofinitiatingthecivil docketsheet. Consequently,acivil covelsheetissubrnittedtotheClerkof'
Court fbr each civil cornplaint filed. l'he attorney filing a casc should completc the fbrm as fbllows:



           onlythefull nameorstandardabbreviations. Iftheplaintiffordef'endanlisanoflicial withinagovemmentagency,identifyfirsttheagencyarrd
           then thc official, giving both name and title.

           timeoffi[ing. InU.S.plaintiffcases,enterthenaureolthecountyinwhichtheflrstlisteddel'endantlesidesatthetimeofliling.                                 (NOTE: Inland
           condernnation cases, the county ofresidence        ofthc "defbndant"      is the location   ofthe tract olland involved.)

           in this section "(see attachment)".



           inoneoftheboxes. lfthereismorethanonebasisofjurisdiction,precedcnccisgivenintheoldershownbelow.
           United States plaintiff. (l) Jurisdiction bascd on 28 U.S.C. 1345 and 1348. Suits by agencies and ol'ficers ofthe tJnited                States arc included herc.
           UnitedStatesdefendant. (2)WhentheplaintiflissuingtheUnitedStates,itsof1lcersoragencics,placean"X"inthisbox.

           totheConstitution,anactofCongressoratreatyoltheUnitedStates.                       lnoaseswherctheLl.S.isaparty,theU.S.plaintif'fordefendantcodetakes
           precederrce, and box     I   or 2 should be rrarked.
           Diversityofcitizenship. (4)'l'hisrefbrstosnitsunder28U.S.C. l332,whcrcpartiesarecitizensofdiffercntstates. WhenBox4ischecked,the
                                                                        lll bclow; NO'I'E: federal question actions take precedence over diversity
           citizenship of the dil{brent paflies must be checked, (Scc Section
           cases. )


Ill.       llcsidence (citizenship) of Principal Partics. 'l-his section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.



           that is rrost applicable. Click herc {br: Nirtulc ol SLrit   (   oLlc l)cscritrtious.



V.         Origin.    Place an   "X" in one of the seven   boxes.
           Original Proceedings. (l ) Cases whicli originate in the [Jnited States distriot oourts.
           Removedfl'ornState Court. (2)ProceedingsinitiatedinstatecouftsmaybererrovedtothedistrictcourtsunderTitle28tJ.S.C.,Sectionl44l.
           When the petition for reuroval is granted, check this box.
           RemandedfrornAppellatcCouft. (3)Checkthisboxfbrcasesremandedtothedistrictcourtforf'urtheraction. [Jsethedateofremandasthefiling
           date.
           Reinstated or Reopened. (4) Check this box fbr oases leinstated or reopencd in the district             court. [Jse the reopening date   as the   filing date.

           multidistrict litigation transfers.
           MultidistrictLitigation-Transfer. (6)Checkthisboxwhenarrultidistrictcaseistransfcrredintothcdistrictunderauthorityol''litle28U.S.C.
           Section 1407.
           MultidistrictLitigation-DirectFile. (8)Checkthisboxwhenanrultidistrictcaseisflledinthe sarnedistrictastheMasterMDLdockct.
           PI,EASE NOTE TIIAT THEIIE IS NOT AN ORICIN CODE 7. Origin Code 7 was used for historical rccords and is no longer relevant                                       due to
           changcs in statue.

VI.        Cause ofAction. Report the civil statute directly related to the oause olaction and give a briefdescription o1'the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Bricl'Dcscription: Unauthorized reception of cable service

VII.       Requestcd in Complaint. Class Action. Place an "X" in this box if you are liling a class action under Rule 23, F.l{.Cv.P.
           I)emand. In this space enter the actual dollar arnount being demanded or indicate other demand, such as a preliminaly injunction.
           .luryDemand. Checktheappropriateboxtoindicatewhetherornotajuryisbeingdemanded.

VIII.      RelatcdCases. ThissectionoftheJS44isusedtoreltrcnccrclatedpendingoases,ifany.                            Iftherearerelatedpendingcases,insertthedocket
           nurnbers and the correspondingjudge uarnes lor such cases.

Date and Attorney Signaturc. Date and sign the civil covcr sheet.
